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 7
 8                  IN THE UNITED STATES DISTRICT COURT FOR THE
 9                         EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,               )   1:08-CR-00224-OWW
                                             )
12               Plaintiff,                  )   FINAL ORDER OF FORFEITURE
                                             )
13        v.                                 )
                                             )
14   ROBERT C. HOLLOWAY,                     )
                                             )
15               Defendant.                  )
                                             )
16                                           )
17        WHEREAS, on or about September 3, 2010, this Court entered a
18   Preliminary Order of Forfeiture pursuant to the provisions of 18 U.S.C.
19   § 1963(a)(2), based upon the plea agreement entered into between
20   plaintiff and defendant Robert C. Holloway forfeiting to the United
21   States the following property:
22             a)     A sub res in the amount of $115,000.00 in lieu
                      of defendant Robert C. Holloway’s interest in
23                    the indicted real property located at
                      4600/4616 Main Street, Denair, California,
24                    APN: 024-026-032.
25        AND WHEREAS, beginning on September 17, 2010, for at least 30
26   consecutive days, the United States published notice of the Court’s
27   Order of Forfeiture on the official internet government forfeiture site
28   www.forfeiture.gov. Said published notice advised all third parties of



                                         1                      Final Order of Forfeiture
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 1   their right to petition the Court within sixty (60) days from the first
 2   day of publication of the notice for a hearing to adjudicate the
 3   validity of their alleged legal interest in the forfeited property;
 4          AND WHEREAS, the Court has been advised that no third party has
 5   filed a claim to the subject property, and the time for any person or
 6   entity to file a claim has expired.
 7          Accordingly, it is hereby ORDERED and ADJUDGED:
 8          1.   A Final Order of Forfeiture shall be entered forfeiting to the
 9   United States of America all right, title, and interest in the above-
10   listed property pursuant to 18 U.S.C. § 1963(a)(2), to be disposed of
11   according to law, including all right, title, and interest of Robert C.
12   Holloway.
13          2.   All right, title, and interest in the above-listed property
14   shall vest solely in the name of the United States of America.
15          3.   The U.S. Marshals Service shall maintain custody of and
16   control over the subject property until it is disposed of according to
17   law.
18          SO ORDERED THIS 13th day of December, 2010.
19
20                                     /s/ Oliver W. Wanger
                                      OLIVER W. WANGER
21                                    United States District Judge
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                                         2                      Final Order of Forfeiture
